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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION


 UNITED STATES OF AMERICA,                              CR 13–11–M–DLC
                      Plaintiff,
                                                              ORDER
        vs.


 JOSEPH ALLEN LESMEISTER, JR.,


                      Defendant.



      United States Magistrate Judge Jeremiah C. Lynch entered Findings and

Recommendation in this matter on June 4, 2013. Neither party objected and

therefore they are not entitled to de novo review of the record. 28 U.S.C. §

636(b)(1); United States v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003).

This Court will review the Findings and Recommendation for clear error.

McDonnell Douglas Corp. v. Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313

(9th Cir. 1981). Clear error exists if the Court is left with a “definite and firm

conviction that a mistake has been committed.” United States v. Syrax, 235 F.3d

422, 427 (9th Cir. 2000).

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      Judge Lynch recommended this Court accept Joseph Allen Lesmeister, Jr.’s

guilty plea after Lesmeister appeared before him pursuant to Federal Rule of

Criminal Procedure 11, and entered his plea of guilty to one count of possession of

stolen firearms in violation of 18 U.S.C. § 922(j) (Count I), as set forth in the

Indictment.

      I find no clear error in Judge Lynch’s Findings and Recommendation (doc.

62), and I adopt them in full, including the recommendation to defer acceptance of

the Plea Agreement until sentencing when the Court will have reviewed the Plea

Agreement and Presentence Investigation Report.

      Accordingly, IT IS HEREBY ORDERED that Joseph Allen Lesmeister,

Jr.’s motion to change plea (doc. 39) is GRANTED.

      DATED this 25th day of June, 2013.




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